           Case 1:14-cr-00228-LJO-SKO Document 417 Filed 03/26/18 Page 1 of 3


 1 McGREGOR W. SCOTT
   United States Attorney
 2 GRANT B. RABENN
   VINCENTE A. TENNERELLI
 3 Assistant United States Attorney
   2500 Tulare Street, Suite 4401
 4 Fresno, CA 93721
   Telephone: (559) 497-4000
 5 Facsimile: (559) 497-4099

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                 IN THE UNITED ST ATES DISTRICT COURT
 9
                                    EASTERN DIST RICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00228-LJO-SKO
12
                                   Plaintiff,             STIPULATION AND ORDER BETWEEN THE
13                                                        UNITED STATES AND DEFENDANT ASHLEY
                            v.                            STARLING THOMAS; ORDER
14
     ASHLEY STARLING THOMAS,
15
                                   Defendant.
16
17                                                STIPULATION
18          WHEREAS, the discovery in this case may contain personal information (the “Protected
19 Information”); and
20          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the
21 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court
22 proceedings in this matter;
23          The parties agree that entry of a stipulated protective order is appropriate.
24          THEREFORE, defendant, ASHLEY STARLING THOMAS, by and through her counsel of
25 record Jerome Price (“Defense Counsel”), and plaintiff, the United States of America, by and through its
26 counsel of record, hereby agree and stipulate as follows:
27          1.     This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of
28 Criminal Procedure, and its general supervisory authority.




      STIPULATION AND [PROPOSED]                          1
      ORDER
           Case 1:14-cr-00228-LJO-SKO Document 417 Filed 03/26/18 Page 2 of 3


 1          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 2 part of the discovery related to the probation violation proceedings against defendants Miguel Gonzalez
 3 and Brandon Michael Thomas (hereafter, collectively known as the “discovery”).
 4          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share any

 5 documents that contain Protected Information with anyone other than Defense Counsel and designated
 6 defense investigators and support staff. Defense Counsel may permit the defendant to view un-redacted
 7 documents in the presence of Defense Counsel, but she shall not have her own copy of the discovery.
 8 The parties agree that Defense Counsel, defense investigators, and support staff shall not allow the
 9 defendant to copy Protected Information contained in the discovery.
10          4.      The discovery and information therein may be used only in connection with the litigation
11   of this case and for no other purpose. The discovery is now and will forever remain the property of the
12   United States Government. Defense Counsel will return the discovery to the Government or certify that
13   it has been destroyed at the conclusion of the case.
14          5.      Defense Counsel will store the discovery in a secure place and will use reasonable care to
15   ensure that it is not disclosed to third persons in violation of this agreement.
16          6.      Defense Counsel shall be responsible for advising the defendants, employees, other
17   members of the defense team, and defense witnesses of the contents of this Stipulation and Order.
18          7.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees
19   to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by
20   this Order or the Court modifies this Order regarding such transfer of discovery.
            IT IS SO STIPULATED.
     Dated: March 22, 2018                                      McGREGOR W. SCOTT
21                                                              United States Attorney

22
                                                                /s/ Grant B. Rabenn
23                                                              GRANT B. RABENN
                                                                Assistant United States
24                                                              Attorney
     Dated: March 22, 2018                                      /s/ Jerome Price
25                                                              JEROME PRICE
                                                                Counsel for Defendant Ashley Starling Thomas
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       STIPULATION AND [PROPOSED]                           2
       ORDER
              Case 1:14-cr-00228-LJO-SKO Document 417 Filed 03/26/18 Page 3 of 3


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IT IS SO ORDERED.

     Dated:    March 26, 2018                 /s/ Lawrence J. O’Neill _____
                                       UNITED STATES CHIEF DISTRICT JUDGE


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        STIPULATION AND [PROPOSED]               3
        ORDER
